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                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA


 JOHN BUTZ,                                 :

          Plaintiffs                        :   CIVIL ACTION NO. 3:17-1909

     v.                                     :        (JUDGE MANNION)

 LUZERNE COUNTY                             :
 CORRECTIONAL FACILITY , et.
 al.,                                       :

          Defendants                        :

                                       ORDER

          In accordance with the Memorandum issued this date, IT IS HEREBY

ORDERED THAT:

     1.        Plaintiffs’ complaint is DISMISSED without prejudice pursuant
               to 28 U.S.C. §1915(e)(2)(B)) for failure to exhaust
               administrative remedies.

     2.        Defendants’ motion to dismiss (Doc. 22) is DISMISSED as
               moot.

     3.        The Clerk of Court is directed to CLOSE this case.

     4.        Any appeal will be deemed frivolous, lacking merit, and not
               taken in good faith. See 28 U.S.C. §1915(a)(3).




                                            s/ Malachy E. Mannion
                                            MALACHY E. MANNION
                                            United States District Judge
Dated: September 30, 2021
17-1909-01-ORDER
